                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,                           )
                                                    )
                          Plaintiff,                )
                                                    )
       vs.                                          )      No. 19-03044-11-CR-S-BP
                                                    )
DANIEL D. RHEA,                                     )
                                                    )
                          Defendant.                )


                         ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One of the

Superseding Indictment filed on May 9, 2019, is now Accepted and the Defendant is Adjudged

Guilty of such offense. Sentencing will be set by subsequent Order of the Court.



                                                            /s/Beth Phillips
                                                           BETH PHILLIPS
                                                    UNITED STATES DISTRICT JUDGE




Date: October 16, 2020




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